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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                          BIG STONE GAP DIVISION


 THOMAS A. ADDINGTON,                               )
                                                    )
                 Plaintiff,                         )    Case No. 2:19CV00007
                                                    )
 v.                                                 )           ORDER
                                                    )
 ANDREW SAUL, COMMISSIONER                          )    By: James P. Jones
 OF SOCIAL SECURITY,                                )    United States District Judge
                                                    )
                  Defendant.                        )



       It appearing that no objections have been timely filed to the Report filed

 September 10, 2020, setting forth the findings and recommendations of the magistrate

 judge, it is ORDERED as follows:

       1.    The Report and its findings and recommendations are wholly ACCEPTED

 and APPROVED; and

       2.    Plaintiff’s Motion for Summary Judgment is DENIED and Defendant’s

 Motion for Summary Judgment is GRANTED.

       A final judgment will be entered herewith.



                                                ENTER: September 28, 2020

                                                /s/ JAMES P. JONES
                                                United States District Judge
